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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division

 CHRISTOPHER BLANKENEY              )
                                    )
       Petitioner,                  )
                                    )
             v.                     )        1:09cr212
                                    )        1:16CV737
                                    )
 UNITED STATES OF AMERICA,          )
                                    )
       Respondent.                  )

                  M E M O R A N D U M     O P I N I O N

           This matter is before the Court on Petitioner

Christopher Blankeney’s (“Petitioner” or “Blankeney”) Section

2255 Motion to Vacate or Set Aside Criminal Judgment.          [Dkt.

76.]   For the reasons set forth below, the Court will deny

Petitioner’s motion.

                             I.   Background

           On May 13, 2009, Blankeney pled guilty to two counts

of using a firearm during and in relation to a “crime of

violence,” in violation of 18 U.S.C. § 924(c).         (See Plea

Agreement [Dkt. 26].)     The underlying “crime of violence”

involved interference with commerce by robbery, in violation of

18 U.S.C. § 1951 (Hobbs Act robbery).        (Pet. Mot. at 1.)     On

August 7, 2009, this Court sentenced Blankeney to 384 months,

followed by a five-year term of supervised release.          [Dkt. 43.]
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Blankeney initially filed a notice of appeal, but it was later

withdrawn.   He otherwise did not appeal his conviction.

           On June 23, 2016, Blankeney petitioned to vacate, set

aside, or correct his sentence pursuant to 28 U.S.C. § 2255

[Dkt. 76] in light of the United States Supreme Court’s recent

holding that the residual clause of the Armed Career Criminal

Act of 1984 (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii), is

unconstitutionally vague.      See Johnson v. United States, 135 S.

Ct. 2551 (2015); see also Welch v. United States, 136 S. Ct.

1257 (2016) (holding that Johnson applies retroactively on

collateral review).    On July 21, 2016, the Government filed a

motion to dismiss the § 2255 petition.        [Dkt. 81.]    Blankeney

replied on July 29, 2016 [Dkt. 82], to which the Government

submitted an additional reply that same day [Dkt. 83}.           This

§ 2255 petition is now ripe for disposition.

                             II.   Analysis

           Under 28 U.S.C. § 2255, a prisoner in federal custody

may collaterally attack his sentence on four grounds: (1) the

sentence was imposed in violation of the Constitution or the

laws of the United States; (2) the court was without

jurisdiction to impose the sentence; (3) the sentence was in

excess of the maximum authorized by law; or (4) the sentence is

otherwise subject to collateral attack.        See Hill v. United

States, 368 U.S. 424, 426–27 (1962).       The petitioner bears the

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burden of proof by a preponderance of the evidence.          Miller v.

United States, 261 F.2d 546, 547 (4th Cir. 1958).

           Under the Antiterrorism and Effective Death Penalty of

1996 (“AEDPA”), a federal district court must dismiss any § 2255

motion that is filed more than one year after the date on which:

(1) the judgment of conviction becomes final; (2) the impediment

to making a motion, created by unlawful governmental action, is

removed and the petitioner was prevented from making a motion by

such action; (3) the United States Supreme Court initially

recognized the constitutional right asserted, if the right has

been newly recognized by the Supreme Court and made

retroactively applicable to cases on collateral review; or (4)

the facts supporting the claims presented could have been

discovered with due diligence.      28 U.S.C. § 2255(f).      A

petitioner must demonstrate that the petition was timely filed

under § 2255 or that his untimely petition may be salvaged by

equitable tolling principles.      See Holland v. Florida, 130 S.

Ct. 2549, 2562 (2010) (confirming that equitable tolling applied

to AEDPA’s statute of limitations); United States v. Terrell,

405 F. App'x 731, 732 (4th Cir. 2010) (applying the holding in

Holland to § 2255 motions).

           In its motion to dismiss, the Government argues that

Blankeney’s § 2255 petition is untimely.        Initially, the

Government argues that Petitioner’s motion was filed more than

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one year from the date on which the judgment of conviction

became final.      (Mem. in Supp. of Mot. to Dismiss at 2.)          The

Court entered judgment in this case on August 7, 2009.              [Dkt.

43.]     Because Petitioner withdrew his only notice of appeal, his

conviction became final on August 7, 2010.            Petitioner did not

file the instant petition until June 23, 2016.            [Dkt. 76.]

Thus, the petition is untimely under § 2255(f)(1), as it was

filed nearly six years after Petitioner’s conviction became

final.

               The Government also argues that Petitioner’s motion

should not be considered timely under § 2255(f)(3), as the new

right recognized by Johnson and made retroactive by Welch does

not apply to Petitioner’s case.          The United States Supreme Court

issued its decision in Johnson, striking the Residual Clause of

the ACCA as unconstitutionally vague, on June 26, 2015.              135 S.

Ct. at 2563.      Less than a year later, the Supreme Court made

clear in Welch that the ruling in Johnson applies retroactively.

136 S. Ct. at 1268.       Petitioner had one year from the date of

Johnson to file a § 2255 petition: June 27, 2016. 1            Although

Petitioner met the filing deadline, [Dkt. 76], the Government is

correct that his petition is untimely, as the newly recognized

right in Johnson does not apply to Petitioner’s case.

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  One year from the date of Johnson occurred on June 26, 2016. However,
because June 26th fell on a Sunday, the deadline for Petitioner’s motion was
extended to June 27, 2016. See Fed. R. Civ. Pro. 6(a)(1)(C); Fed. R. Crim.
Pro. 45(a)(1)(C).

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             “[A] case announces a new rule when it breaks new

ground or imposes a new obligation” on the government. Teague v.

Lane, 489 U.S. 288, 301 (1989) (internal citations omitted). “To

put it differently, a case announces a new rule if the result

was not dictated by precedent existing at the time the

defendant's conviction became final.”        Id. (internal citations

omitted).    A holding is only dictated by existing precedent if

it would have been “apparent to all reasonable jurists.” Lambrix

v. Singletary, 520 U.S. 518, 527–528 (1997).         Johnson’s

application to § 924(c)(3)(B) is not apparent here.

             The only circuits to address whether Johnson

invalidates § 924(c)(3)(B) thus far have rejected Plaintiff’s

arguments.    See United States v. Hill, 2016 WL 4120667, at *8

(2d Cir. Aug. 3, 2016) (holding that Johnson is inapplicable to

the residual clause of § 924 because “Section 924(c)(3)(B) does

not involve the double-layered uncertainty present in Johnson”);

United States v. Taylor, 814 F. 3d 340, 375-79 (6th Cir. 2016)

(holding that Johnson did not render the residual clause of

§ 924(c) unconstitutionally vague because that clause “is

considerably narrower than the statute invalidated . . . in

Johnson, and because much of Johnson’s analysis does not apply

to [the residual clause of § 924(c)]”).        The Fourth Circuit,

sitting en banc, also held that, on direct appeal, a defendant

failed to show that it is “plain” that Johnson invalidates

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§ 924(c)(3)(B).    United States v. Graham, 2016 WL 3068018, at *1

n.1 (4th Cir. May 31, 2016).      In addition, the Fourth Circuit

declined to address the constitutionality of § 924(c)(3)(B),

noting that the United States Supreme Court had no occasion to

review that provision when deciding Johnson.         United States v.

Fuertes, 805 F.3d 485, 499 n.5 (4th Cir. 2015).

            For a motion filed pursuant to § 2255(f)(3), “the

Supreme Court itself must recognize the specific substantive

right at issue.”    United States v. Kerney, 2016 WL 6093486, at

*2 (E.D. Va. Oct. 18, 2016).      Section 2255(f)(3) “does not

authorize [a lower court] to read between the lines of a prior

opinion [by the Supreme Court] to discern whether that opinion,

by implication, made a new rule retroactively applicable on

collateral review.”    Kerney, 2016 WL 6093486, at *1 (citing

United States v. Mathur, 685 F.3d 396, 401 (4th Cir. 2012)

(internal quotations omitted)).       This Court declines to read

between the lines of Johnson today to invalidate 18 U.S.C.

§ 924(c)(3)(B) as unconstitutionally vague.

            Because the new rule announced in Johnson does not yet

apply to Petitioner’s case, § 2255(f)(3) does not apply either.

Thus, the Court will deny Petitioner’s § 2255 motion as

untimely.




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                          III.    Conclusion

           For the foregoing reasons, the Court will deny

Petitioner Christopher Blankeney’s petition to vacate, set

aside, or correct his sentence as untimely.         The Court will also

deny Petitioner’s request for a stay pending the Fourth

Circuit’s ruling in United States v. Walker, which addresses

whether Johnson applies to § 924(c).       Such a decision would not

help Petitioner’s case, as the Supreme Court itself—not the

Fourth Circuit—must recognize the right at issue in order for

Petitioner’s § 2255 motion to be timely.

           An appropriate order shall issue.



                                              /s/
January 24, 2017                       James C. Cacheris
Alexandria, Virginia          UNITED STATES DISTRICT COURT JUDGE




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